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                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                             CIVIL MINUTES – GENERAL

 Case No.: 2:21-06710 ODW (ADS)                                  Date: November 22, 2021
 Title: Thompson v. Mayorkas, et al.


 Present: The Honorable Autumn D. Spaeth, United States Magistrate Judge


               Kristee Hopkins                                 None Reported
                Deputy Clerk                              Court Reporter / Recorder

      Attorney(s) Present for Plaintiff(s):         Attorney(s) Present for Defendant(s):
                None Present                                    None Present

 Proceedings:         (IN CHAMBERS) ORDER TO SHOW CAUSE WHY CASE
                      SHOULD NOT BE DISMISSED FOR FAILURE TO
                      PROSECUTE AND OBEY COURT ORDERS

        On August 19, 2021, Plaintiff Stephanie L. Thompson filed a civil rights complaint
 pursuant to 42 U.S.C. § 1983. (Dkt. No. 1.) Plaintiff was ordered to obtain a summons
 and serve the summons and complaint by November 17, 2021. Without obtaining a
 summons from the Court, on October 1, 2021, Plaintiff filed a Proof of Service showing
 that she herself had served various documents on one of the three defendants, Alejandro
 N. Mayorkas. (Dkt. No. 9.) The Proof of Service reflects that Plaintiff served a “civil
 cover sheet, notice of interested parties, pleading page for document, doctors note,
 declaration in support, pro se clinic form.” (Id.) As of the date of this order, however,
 the record does not show that Plaintiff has served the summons and complaint on any of
 the defendants, and no defendant has appeared in the case.

         Plaintiff is hereby ordered to show cause why this case should not be dismissed
 for failure to prosecute the case by failing to serve the summons and complaint on any of
 the defendants. Plaintiff must file a written response by no later than December 6,
 2021. Plaintiff may respond by obtaining and serving the summons and complaint
 consistent with Federal Rule of Civil Procedure 4 and by filing the respective proofs of
 service.

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        Plaintiff is expressly warned that failure to timely file a response to this order
 may result in a recommendation to the District Judge that this action be dismissed
 without prejudice for failure to prosecute and obey court orders pursuant to Federal
 Rule of Civil Procedure 41(b).

        IT IS SO ORDERED.




                                                                         Initials of Clerk kh




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